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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION




 RICHARD MARTIN,

        Plaintiff,                                         CIVIL ACTION FILE
 vs.                                                       NO. 1:13-cv-4242-RWS
 JOBO’S, INC. d/b/a BJ Roosters, ROBERT
 HAMILL and JOHN MOLINARI, individuals,
        Defendants.


                                      JUDGMENT


       This action having come before the court, Honorable Richard W. Story, United

States District Judge, for a bench trial on November 10, 2015, and having found in favor

of the plaintiff and against the defendants, it is

       Ordered and Adjudged that defendants are jointly and severally liable to plaintiff

in the amount of $33,741.55 in due but unpaid minimum wages and overtime, $33,741.55

in liquidated damages.

       Dated at Atlanta, Georgia, this 11th day of December, 2015.



                                                           JAMES N. HATTEN
                                                           CLERK OF COURT


                                                     By:    s/C. Mercado
                                                           Deputy Clerk

Prepared, Filed, and Entered
in the Clerk's Office
  December 11, 2015
James N. Hatten
Clerk of Court

By: s/C. Mercado
       Deputy Clerk
